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                          IN THE UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF PENNSYLVANIA


KENNETH FERENCE,                                ELECTRONICALLY FILED

                 Plaintiff,                     No. 2:22-cv-797

            v.                                  JURY TRIAL DEMANDED

ROMAN CATHOLIC DIOCESE OF
GREENSBURG,
                 Defendant.

Magistrate Judge Maureen P. Kelly

                           Fed. R. Civ. P. 26(f) REPORT OF THE PARTIES

          Counsel for the parties and unrepresented parties shall confer regarding the matters
 identified herein and prepare a signed report in the following form to be filed at least 21 days before
 the Initial LCvR 16.1 Scheduling Conference or at such other time as ordered by the court. This
 report form may be downloaded from the Court's website as a word-processing document and the
 information filled in as requested on the downloaded form. The dates to be provided in the report
 are suggested dates and may be accepted or modified by the Court.

 1.      Identification of counsel and unrepresented parties. Set forth the names, addresses,
         telephone and fax numbers and e-mail addresses of each unrepresented party and of
         each counsel and identify the parties whom such counsel represent:

 Counsel for Plaintiff:                       Counsel for Defendant:

 Nicholas W. Kennedy, Esquire                 Bernard P. Matthews, Jr., Esquire
 Quatrini Law Group                           Alexander W. Brown, Esquire
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2.   Set forth the general nature of the case (patent, civil rights, anti-trust, class action, etc.):
     This is a Civil Rights action filed under Title VII.

3.   Date Rule 26(f) Conference was held, the identification of those participating therein
     and the identification of any party who may not yet have been served or entered an
     appearance as of the date of said Conference: June 6, 2023. All counsel identified
     under paragraph 1 above participated in the Rule 26(f) Conference.

4.   Date of Rule 16 Initial Scheduling Conference as scheduled by the Court: (Lead Trial
     Counsel and unrepresented parties shall attend the Rule 16 Initial Scheduling Conference
     with their calendars in hand for the purpose of scheduling other pre-trial events and
     procedures, including a Post-Discovery Status Conference; Counsel and unrepresented
     parties shall attend the Rule 16 Initial Scheduling Conference prepared to discuss the
     anticipated number of depositions and identities of potential deponents and the anticipated
     dates by which interrogatories, requests for production of documents and requests for
     admissions will be served): June 27, 2023.

5.   Identify any party who has filed or anticipates filing a dispositive motion pursuant to
     Fed. R. Civ. P. 12 and the date(s) by which any such anticipated motion may be filed:
     Defendant previously filed a Rule 12 Motion. No further Rule 12 Motions are anticipated
     unless Plaintiff amends the Complaint.

6.   Designate the specific Alternative Dispute Resolution (ADR) process the parties
     have discussed and selected, if any, and specify the anticipated time frame for
     completion of the ADR process. Set forth any other information the parties wish to
     communicate to the court regarding the ADR designation: Pursuant to Section 2.8 of
     the ADR Policies and Procedures of the United States District Court for the Western District
     of Pennsylvania, Defendant gives notice to Plaintiff and the Court that it does not intend to
     make any offer of settlement during any alternative dispute proceeding. Therefore, the
     parties do not believe that ADR is appropriate for this case.
7.   Set forth any change that any party proposes to be made in the timing, form or
     requirements of Fed. R. Civ. P. Rule 26(a) disclosures, whether such change is
     opposed by any other party, whether any party has filed a motion seeking such
     change and whether any such motion has been ruled on by the Court: No changes
     are proposed.

8.   Subjects on which fact discovery may be needed. (By executing this report, no party
     shall be deemed to (1) have waived the right to conduct discovery on subjects not listed
     herein or (2) be required to first seek the permission of the Court to conduct discovery with
     regard to subjects not listed herein): The parties disagree regarding the subjects on which
     fact discovery may be needed. It is Plaintiff’s position that fact discovery is necessary for
     those subjects related to Plaintiff’s discrimination claim and Defendant’s affirmative defenses,
     including, but not limited to, the following: Plaintiff’s employment and termination, whether
     Aquinas Academy is a religious organization for purposes of Title VII’s religious exemption,
     and comparative employment decisions made by Defendant regarding lay teachers. It is
     Defendant’s position that based on Judge Ranjan’s May 8, 2023 Order, and the Complaint
     and Answer which show the parties’ agreement that Plaintiff was terminated because he was
     in a same sex marriage which indisputably violates the sincerely held tenets of the Catholic
     faith, Defendant contends that discovery should be limited to facts regarding the Title VII
     Religious Exemption and whether it applies to Aquinas Academy, including the ministerial
     exemption and the church autonomy doctrine. Defendant requests that the Court limit and
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     bifurcate discovery to these factual issues and then make a determination regarding Title VII’s
     religious exemption via Defendant’s Motion for Summary Judgment.

9.   Set forth suggested dates for the following (The parties may elect by agreement to
     schedule a Post-Discovery Status Conference, as identified in Paragraph 12, below, at the
     conclusion of Fact-Discovery rather than at the conclusion of Expert Discovery. In that event,
     the parties should provide suggested dates only for the events identified in sub-paragraphs
     9.a through 9.e, below. The parties shall provide such information even if dispositive motions
     pursuant to Fed. R. Civ. P. 12 have been or are anticipated to be filed. If there are dates on
     which the parties have been unable to agree, set forth the date each party proposes and a
     brief statement in support of each such party's proposed date. Attach to this report form a
     proposed Court Order setting forth all dates agreed to below and leaving a blank for the
     insertion of a date by the Court for any date not agreed to): The parties agree that the Court
     should conduct a post-discovery status conference after completion of fact discovery
     permitted by the Court.

     a.     Date(s) on which disclosures required by Fed. R. Civ. P. 26(a) have been or
            will be made: July 11, 2023

     b.     Date by which any additional parties shall be joined: July 11, 2023

     c.     Date by which the pleadings shall be amended: July 11, 2023. In addition, once
            the administrative requirements have been exhausted, Plaintiff intends to amend the
            Complaint to include one additional count under the PHRA.

     d.     Date by which fact discovery should be completed: November 24, 2023.

     e.     If the parties agree that discovery should be conducted in phases or limited to
            or focused on particular issues, identify the proposed phases or issues and
            the dates by which discovery as to each phase or issue should be completed:
            The parties disagree on whether discovery should be bifurcated and/or conducted in
            phases, or limited. Please see paragraph 8. The parties agree that the Court should
            conduct a post-discovery status conference after completion of fact discovery
            ordered by the Court.

     f.     Date by which plaintiff's expert reports should be filed: The parties request that
            the Court conduct a post-fact discovery status conference during which expert
            discovery, if any, will be discussed and scheduled.

     g.     Date by which depositions of plaintiff's expert(s) should be completed: The
            parties request that the Court conduct a post-fact discovery status conference during
            which expert discovery, if any, will be discussed and scheduled.

     h.     Date by which defendant's expert reports should be filed: The parties request that
            the Court conduct a post-fact discovery status conference during which expert
            discovery, if any, will be discussed and scheduled.

     i.     Date by which depositions of defendant's expert(s) should be completed: The
            parties request that the Court conduct a post-fact discovery status conference during
            which expert discovery, if any, will be discussed and scheduled.

     j.     Date by which third party expert's reports should be filed: The parties request
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            that the Court conduct a post-fact discovery status conference during which expert
            discovery, if any, will be discussed and scheduled.

      k.    Date by which depositions of third party's expert(s) should be completed: The
            parties request that the Court conduct a post-fact discovery status conference during
            which expert discovery, if any, will be discussed and scheduled.

10.   If the parties agree that changes should be made to the limitations on discovery
      imposed by the Federal Rules of Civil Procedure or Local Rule or that any other
      limitations should be imposed on discovery, set forth such changes or limitations:
      The parties disagree on whether discovery should be limited. Please see paragraph 8.

11.   Please answer the following questions in regard to the discovery of electronically
      stored information (“ESI”):

      a.    ESI. Is either party seeking the discovery of ESI in this case?
            X Yes           □ No [If “No,” skip to sub-part (e) below.]

      b.    ESI Discovery Plan. The parties have reviewed and discussed the Court’s
            Checklist for Rule 26(f) Meet and Confer Regarding Electronically Stored
            Information set forth in “Appendix LCvR 26.2.C-CHECKLIST” to the Local Rules
            and:

            X Have agreed that, in light of the facts and issues in this case, there is no need to
            complete an ESI discovery plan, and will conduct ESI discovery by
                 Production of pdf documents of any ESI.

                                                                                              .
            □   Have developed an ESI discovery plan (as attached).
            □   Will have an ESI discovery plan completed by
            □    NOTE: At the direction of the Court, parties may be required to submit a draft of
                the Stipulated Order re: Discovery of Electronically Stored Information for
                Standard Litigation set forth in “Appendix LCvR 26.2.E-MODEL ORDER” to the
                Local Rules, to address specific issues relative to the parties’ exchange of
                electronic discovery and ESI. If the parties are unable to do so, they should
                advise the Court promptly.

      c.    Preservation. Have the parties agreed on any protocol for the preservation of
            electronic data and/or potentially relevant ESI?
            X Yes          □ No

      d.    ADR. Does any party believe that the exchange of ESI is necessary prior to
            conducting meaningful Alternative Dispute Resolution (“ADR”) in this case?
            □ Yes        X No




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      e.     Clawback Agreement. The parties have reviewed F.R.C.P. 26(b)(5), F.R.E.
             502 and LCvR 16.1.D, Procedures Following Inadvertent Disclosure, and:

             X Request the Court enter an Order implementing Federal Rule of Evidence 502(d)
             such as the model Order set forth in “Appendix LCvR 16.1.D” to the Local Rules
             and filed with this Report.
             □ Have agreed on alternate non-waiver language, which either is or will be
             incorporated within the ESI discovery plan.
             □ Are unable to agree on appropriate non-waiver language.

      f.     EDSM and E-Mediator. Does any party believe that the appointment of an
             E-Discovery Special Master (“EDSM”) or E-Mediator would help resolve ESI
             discovery issues in this case? For further information, see the Court’s official
             website at http://www.pawd.uscourts.gov.
             □ Yes           X No

      g.     Other. Identify all outstanding disputes concerning any ESI issues:
             None at this time.




12.   Set forth whether the parties have elected to schedule the Post-Discovery Status
      Conference following the completion of Fact Discovery or Expert Discovery; in either
      event the parties shall be prepared at the Post-Discovery Status Conference to
      discuss and/or schedule the following: (The parties are not required during their
      Rule 26(f) Conference to consider or propose dates for the items identified below.
      Those dates will be determined, if necessary, at the Post-Discovery Status
      Conference. Lead trial counsel for each party and each unrepresented party are
      required to attend the Post- Discovery Status Conference with their calendars in
      hand to discuss those items listed below that require scheduling. In addition, a
      representative with settlement authority of each party shall be required to attend;
      representatives with settlement authority of any insurance company providing any
      coverage shall be available throughout the Conference by telephone): The parties
      agree that the Court should conduct a post-discovery status conference after completion of
      fact discovery permitted by the Court.

      a.     Settlement and/or transfer to an ADR procedure;

      b.     Dates for the filing of expert reports and the completion of expert discovery as
             itemized in sub-paragraphs 9.f. through 9.k., above, if the parties elected to defer
             such discovery until after the Post-Discovery Status Conference;

      c.     Dates by which dispositive motions pursuant to Fed. R. Civ. P. 56, replies
             thereto and responses to replies should be filed;

      d.     Dates by which parties' pre-trial statements should be filed;

      e.     Dates by which in limine and Daubert motions and responses thereto
             should be filed;

      f.     Dates on which motions in limine and Daubert motions shall be heard;

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      g.     Dates proposed for final pre-trial conference;

      h.     Presumptive and final trial dates.

13.   Set forth any other order(s) that the parties agree should be entered by the court
      pursuant to Fed. R. Civ. P. 16(b) or 26(c): The parties believe that it may be
      necessary to enter into an agreed confidentiality stipulation regarding production of
      some confidential documents. If the parties cannot agree on a confidentiality
      stipulation, an appropriate motion will be presented to the Court.

14.   Set forth whether the parties anticipate that the court may have to appoint a special
      master to deal with any matter and if so, specify the proposed role of any such
      master and any special qualifications that such master may require to perform such
      role: No.

15.   If the parties have failed to agree with regard to any subject for which a report is
      required as set forth above, except for proposed dates required in paragraph 9,
      above, briefly set forth the position of each party with regard to each matter on
      which agreement has not been reached: The parties disagree on whether discovery
      should be limited. Please see paragraph 8.

16.   Set forth whether the parties have considered the possibility of settlement of the action
      and describe briefly the nature of that consideration: No.




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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF PENNSYLVANIA


KENNETH FERENCE,                                ELECTRONICALLY FILED

               Plaintiff,                       No. 2:22-cv-797

          v.                                    JURY TRIAL DEMANDED

ROMAN CATHOLIC DIOCESE OF
GREENSBURG,

               Defendant.


Magistrate Judge Maureen P. Kelly

                Clawback Order Implementing Federal Rule of Evidence 502(d)

      1. No Waiver by Disclosure. This Order is entered pursuant to Rule 502(d) of the Federal
      Rules of Evidence. Subject to the provisions of this Order, if a party (the “Producing Party”)
      discloses information in connection with the pending litigation, that the Producing Party
      thereafter claims to be protected by the attorney-client privilege and/or trial preparation material
      protection (“Protected Information”), the disclosure of that Protected Information will not
      constitute or be deemed a waiver or forfeiture in this or any other federal, state, arbitration, or
      any other proceeding of any claim of privilege or protection as trial preparation material that the
      Producing Party would otherwise be entitled to assert with respect to the Protected Information
      and its subject matter.

      2. Notification Requirements; Best Efforts of Receiving Party. A Producing Party must
      promptly notify the party receiving the Protected Information (the “Receiving Party”), in writing
      that it has disclosed the Protected Information without intending a waiver by the disclosure. The
      notification by the Producing Party shall include as specific an explanation as possible why the
      Protected Information is covered by the attorney-client privilege and/or constitutes trial
      preparation material. Upon such notification, the Receiving Party must, unless it contests the
      claim of attorney-client privilege or protection as trial preparation material in accordance with
      paragraph (3), promptly (a) notify the Producing Party that it will make best efforts to identify
      and return, sequester or destroy (or in the case of electronically stored information, delete) the
      Protected Information and any reasonably accessible copies it has and (b) provide a
      certification that it will cease further review, dissemination and use of the Protected Information.
      For purposes of this Order, Protected Information that has been stored on a source of
      electronically stored information that is not reasonably accessible, such as backup storage
      media, is sequestered. If such data is retrieved, the Receiving Party must promptly take steps
      to delete or sequester the restored Protected Information.

      3. Contesting Claims of Privilege or Protection as Trial Preparation Material. If the
      Receiving Party contests the claim of attorney-client privilege or protection as trial preparation
      material, the Receiving Party must within 30 days of receipt of the notification referenced in
      Paragraph (2) move the Court for an Order finding that the material referenced in the notification
      does not constitute Protected Information. This Motion must be filed (with Court approval) under
      seal and cannot assert the fact or circumstance of the disclosure as a ground for determining
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      that the material does not constitute Protected Information. Pending resolution of the Motion,
      the Receiving Party must not use the challenged information in any way or disclose it to any
      person other than as required by law to be served with a copy of the sealed Motion.

      4. Stipulated Time Periods. The parties may stipulate to extend the time periods set forth in
      subparagraphs (2) and (3).

      5. Burden of Proving Privilege or Protection as Trial Preparation Material. The Disclosing
      Party retains the burden upon challenge pursuant to Paragraph (3) of establishing the privileged
      or protected nature of the Protected Information.

      6. In Camera Review. Nothing in this Order limits the right of any party to petition the Court for
      an in camera review of the Protected Information.

      7. Voluntary and Subject Matter Waiver. This Order does not preclude a party from voluntarily
      waiving the attorney-client privilege or trial preparation material protection. The provisions of
      Federal Rule of Evidence 502(a) apply when the Disclosing Party uses or indicates that it may
      use information produced under this Order to support a claim or defense.

      8. Rule 502(b)(2). The failure to take reasonable steps to prevent the disclosure shall not give
      rise to a waiver of the privilege.

      9. Other Clawback and Confidentiality Obligations. This Order does not affect or rescind
      any Clawback Agreement or Order governing protection of confidential information to which the
      parties have otherwise agreed.

      10. Severability. The invalidity or unenforceability of any provisions of this Order shall not
      affect the validity or enforceability of any other provision of this Order, which shall remain in full
      force and effect.



____________________________
The Honorable Maureen P. Kelly
Magistrate Judge, United States District Court for the Western District of Pennsylvania




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                                            Respectfully Submitted:


MEYER, DARRAGH, BUCKLER,                    BALL, MURREN & CONNELL, LLC
BEBENEK & ECK, P.L.L.C.

/s/ Bernard P. Matthews, Jr., Esq.          /s/ Philip J. Murren, Esq.___
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